Case 1:14-cv-01608-CBS Document 15 Filed 10/27/14 USDC Colorado Page 1 of 1




                     UNITED STATES DISTRICT COURT
                        DISTRICT OF COLORADO


Evelyn Goodshot-Segovia                   Case No. 1:14cv1608

       Plaintiff,

v.

State Collection Service, Inc.

      Defendant.

                            STIPULATION OF DISMISSAL

      COME NOW, all parties of record that have made an appearance in this

action and file this Stipulation of Dismissal with prejudice pursuant to Rule

41(a)(1)(A)(ii), all parties to bear their own attorney fees and costs.



RESPECTFULLY SUBMITTED,

Hyslip & Taylor, LLC, LPA                      Adam L. Plotkin P.C.


By: /s/ Mark T. Lavery                      By: /s/ Steven J. Wienczkowski
One of Plaintiff’s Attorneys                   One of Defendant’s Attorney


Mark T. Lavery, Esq.                       Steven J. Wienczkowski
917 W. 18th Street, Suite 200              621 17th Street, #1800
Chicago, IL 60608                          Denver, CO 80293
312-380-6110                               303-296-3566
Mark@lifetimedebtsolutions.com             Swienczkowski@alp-Pc.Com




                                           1
